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                                                                             DOCUMENT
UNITED STATES DISTRICT COURT                                                 ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                DOC #:
                                                                             DATE FILED: 12/1/2014
 ---------------------------------------------------------------X
 JOHN DOE,                                                      :
                                              Plaintiff,        :
                                                                :
                            -against-                           :        14-CV-779 (VEC)
                                                                :
 OPPENHEIMER ASSET MANAGEMENT, INC.; :                                        ORDER
 OPPENHEIR & CO., INC.; BRIAN                                   :
 WILLIAMSON; and JOHN T. McGUIRE,                               :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        By letter dated December 1, 2014, the parties have reported to the Court that they have

reached a settlement of this matter.

        Accordingly, it is hereby ORDERED that this action is dismissed without costs

(including attorney’s fees) to any party and without prejudice to restoration of the action to the

calendar of the undersigned within 45 days of the date of this Order if in fact there has not been a

settlement of this matter. If any party wishes to reinstate this matter, the party must make a letter

application to the undersigned before the 45-day period expires.

        The parties are advised that if they wish the Court to retain jurisdiction in this matter for

purposes of enforcing any settlement agreement, they must submit the settlement agreement to

the Court within the next 45 days with a request that the agreement be “so ordered” by the Court.

        Any pending motions are dismissed as moot and the hearing previously scheduled for

December 4, 2014, is adjourned sine die. The Clerk of the Court is respectfully requested to

close the case.

SO ORDERED.
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                                                              ___           _______________________
Date: December 1, 2014                                        VALERIE CAPRONII
      New York, NY                                            United
                                                              U   i d States
                                                                         S        District
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